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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12
     ALEXANDER STROSS,                                Case No.: 2:20-cv-00861-AB-PJW
                                                      Hon. André Birotte Jr. Presiding
13   Plaintiff,
14                                                JOINT RULE 26(f) REPORT
     v.
15
     NETEASE, INC.                                Date:    September 25, 2020
16
                                                  Time:    10:00 a.m.
17   Defendant.                                   Location: 7B– 1st Street
18

19

20

21
            By and through their attorneys of record, who are set forth below, plaintiff
22
     Alexander Stross (“Plaintiff”) and defendant NetEase, Inc. (“Defendant” or
23
     “NetEase”) have prepared and hereby submit this jointly signed Joint Rule 26(f)
24
     Report following the conference of counsel required by Federal Rule of Civil
25
     Procedures 16(b) and 26(f), Central District Local Rule 26-1, and this Court’s Order
26
     Setting Scheduling Conference (ECF No. 23).
27

28                                              -1-


                                     JOINT RULE 26(f) REPORT
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 1   A.    STATEMENT OF THE CASE
 2         1.     Plaintiff’s Statement
 3         Alexander Stross is a photographer and licensed realtor based in Austin, Texas.
 4   Stross creates bespoke high-quality photographs of real estate subjects, including
 5   architecture and interiors.
 6         Defendant NetEase is a leading Chinese internet technology company
 7   providing premium online services centered around content, communications, and
 8   commerce. NetEase develops and operates some of China’s most popular mobile and
 9   PC-client games.
10         The Subject Photographs were timely registered with the United States
11   Copyright Office. Stross alleges that Defendant NetEase has engaged in infringing
12   activity by publishing the Subject Photographs on its online platform, http://163.com,
13   without his authorization. This conduct violated Stross’ exclusive rights in the
14   Subject Photographs.
15         Plaintiff believes that Defendants’ infringement was willful. Defendants knew
16   or reasonably should know that photographs are protected by copyright, and thus it
17   was a minimum reckless for Defendants to use Stross’ images without securing a
18   license or permission to do so.
19         2.     Defendant’s Statement
20         NetEase is a holding company with its principal executive offices located in
21   China. NetEase’s employees are all located in China. NetEase does not have any
22   employees, offices, or business operations in the United States, and it does not own
23   or lease any property in the U.S. NetEase is not, and never has been, registered to do
24   business in the State of Delaware, or in any other state in the United States. NetEase
25   does not provide or offer any services or products in the United States.
26         Plaintiff alleges infringement of sixteen copyright-protected photographs by
27   the website 163.com, a Chinese-language website. NetEase does not own, maintain,
28                                               -2-


                                       JOINT RULE 26(f) REPORT
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 1   or operate 163.com. NetEase has not overseen the daily operations of 163.com or
 2   directed or contributed to the content posted on these sites, including the alleged
 3   posting or display of Plaintiff’s images. Nor does NetEase oversee the daily
 4   operations of 163.com or direct or contribute to the content posted on 163.com.
 5   NetEase was unaware of the Plaintiff’s images until the filing of the complaint in this
 6   action.
 7         163.com is owned and operated by a third party, Guangzhou NetEase
 8   Computer System Co., Ltd. (“GNCS”), a China-based company. GNCS is not a
 9   direct or indirect subsidiary of NetEase. GNCS has entered into a contractual
10   arrangement with one of NetEase’s indirect subsidiaries.
11         NetEase is not directly or secondarily liable for the alleged infringement.
12   There is no evidence that any infringing acts occurred in the United States. Further,
13   NetEase has no claim-related connection with the United States giving rise to
14   personal jurisdiction. Discovery will confirm the lack of such contacts under, inter
15   alia, the “effects test” of the “purposeful direction” inquiry used to determine
16   personal jurisdiction for tort claims (including copyright claims). See Calder v.
17   Jones, 465 U.S. 783 (1984).
18   B.    SUBJECT MATTER JURISDICTION
19         1.     Plaintiff’s Statement
20         This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et
21   seq. Accordingly, this Court has federal question jurisdiction under 28 U.S.C. §§
22   1331 and 1338(a).
23         2.     Defendant’s Statement
24         Plaintiff alleges claims for copyright infringement. NetEase disputes that any
25   infringement occurred in the United States giving rise to subject matter jurisdiction
26   under 28 U.S.C. §§ 1331 and 1338(a).
27

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                                     JOINT RULE 26(f) REPORT
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 1   C.    LEGAL ISSUES
 2         1.      Plaintiff’s Statement
 3         Plaintiff contends that there can be no real issue as to his ownership of valid
 4   copyrights in the work at issue, as they are photographs he has taken, and no real
 5   dispute that those photographs were reproduced on the 163.com website. The primary
 6   legal issues in this case related to liability are thus is whether the use of the Subject
 7   Photographs was infringing, and whether Defendant is liable for that use, either
 8   directly or secondarily. In addition, there will be issues related to available damages
 9   and attorney’s fees, which may turn at least in part on whether any infringement was
10   willful, innocent, or neither.
11         2.      Defendant’s Statement
12         NetEase identifies the following legal issues:
13              • Whether Plaintiff is the author of and owns the photographs asserted in
14                 this action.
15              • Whether Plaintiff owns valid copyright registrations for the works
16                 asserted, including whether Plaintiff provided inaccurate information to
17                 the U.S. Copyright Office that, had the Copyright Office had known of
18                 such inaccuracy, would have resulted in refusal of registration.
19              • Whether any infringing acts occurred in the United States giving rise to
20                 subject matter jurisdiction, liability, or damages.
21              • Whether Plaintiff’s allegations of infringement as stated in the complaint
22                 have a factual basis and are supported by evidence.
23              • Whether NetEase is directly liable for the alleged infringement of
24                 Plaintiff’s copyrighted works on 163.com, which NetEase does not own,
25                 maintain, or operate.
26              • Whether any third party is directly liable under U.S. copyright law for
27                 the alleged infringement.
28                                               -4-


                                      JOINT RULE 26(f) REPORT
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 1               • Whether NetEase is secondarily liable – including under theories of
 2                  contributory infringement or vicarious liability – for the alleged
 3                  infringement of Plaintiff’s copyrighted works on 163.com, which
 4                  NetEase does not own, maintain, or operate.
 5               • The amount of damages Plaintiff may seek to recover, including actual
 6                  damages and profits attributable to the alleged infringement.
 7               • Whether Plaintiff is entitled to elect statutory damages, and the amount
 8                  of statutory damages recoverable.
 9               • Whether NetEase is entitled to the recovery of its costs and attorney’s
10                  fees as the prevailing party.
11               • Whether NetEase is subject to personal jurisdiction in this matter,
12                  including whether NetEase is subject to personal jurisdiction under Rule
13                  4(k)(2) of the Federal Rules of Civil Procedure where, inter alia,
14                  NetEase has no claim-related contacts with California or the United
15                  States, and whether issue preclusion bars NetEase from challenging
16                  personal jurisdiction on summary judgment or in other proceedings in
17                  this case.
18   D.     PARTIES, EVIDENCE, etc.
19          The parties are Plaintiff Alexander Stross and Defendant NetEase, Inc.
20          1.      Plaintiff’s Additional Statement
21          Plaintiff contemplates adding Guangzhou NetEase Computer System Co., Ltd
22   into this case as a defendant, and also sued unnamed “Doe” defendants. Should
23   Defendants reveal in Initial Disclosures or discovery responses any third parties
24   involved in the chain of alleged infringement of the Subject Photographs, Plaintiff
25   will move to add such entities as parties to this action in place of Doe Defendants.
26          Plaintiff has no parents, subsidiaries, or affiliates that are implicated in this
27   litigation.
28                                                  -5-


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 1         2.      Defendant’s Additional Statement
 2         On August 20, 2020, the Court issued an order denying Plaintiff’s notice of
 3   Doe amendment to add Guangzhou NetEase Computer System Co., Ltd. as a
 4   defendant, and dismissing all “Doe” defendants from the Stross, Ledergerber,
 5   Walmsley, and Kühmstedt cases. See ECF No. 49. It is Defendant’s position that
 6   Plaintiff has no basis to move to add Guangzhou NetEase Computer System Co., Ltd.
 7   (in light of ¶ 1 of the Court’s Standing Order) or to add parties in place of Doe
 8   defendants (as all Doe defendants have been dismissed).
 9         In response to the Court’s directive that “[f]or conflict purposes, corporate
10   parties must identify all subsidiaries, parents, and affiliates” (ECF No. 23, at 3)
11   NetEase refers to the chart depicting its direct and indirect subsidiaries, and
12   companies that have entered into contractual arrangement with its indirect
13   subsidiaries, set forth in ¶ 7 of the Liu declaration. See ECF No. 21-2.
14         With respect to percipient witnesses, NetEase identifies the following:
15              • Alexander Stross. Mr. Stross can provide information on to the origins,
16                 creation, authorship, ownership, applications to register, and
17                 registrations of the asserted photographs; the licenses, sales, distribution,
18                 publication, and display of the asserted photographs; the revenue, costs,
19                 and profits associated with the asserted photographs; any settlement
20                 agreements and terms with respect to other accused infringers; Plaintiff’s
21                 claims for damages for the alleged infringement; and, Plaintiff’s
22                 connection to the United States and California.
23              • Yang Liu. Yang Liu can provide information as to the corporate
24                 structure of NetEase, Inc., its lack of control of the 163.com website, and
25                 its lack of contacts with the United States.
26         NetEase identifies the following key documents:
27              • The complaint (ECF No. 1).
28                                               -6-


                                      JOINT RULE 26(f) REPORT
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 1            • Plaintiff’s applications to register the asserted photographs.
 2            • Plaintiff’s certificates of registration with the U.S. Copyright Office.
 3            • Plaintiff’s agreements with third parties concerning the creation of the
 4               asserted photographs.
 5            • Plaintiff’s agreements with third parties for the licensing, sale, or
 6               transfer of rights in the Photographs.
 7            • Plaintiff’s correspondence with third parties concerning the asserted
 8               photographs.
 9            • Plaintiff’s correspondence and settlement agreements with third parties
10               concerning the asserted photographs.
11            • NetEase’s motion to dismiss and supporting papers (ECF Nos. 21, 21-1,
12               21-2, 21-3, 32, 33).
13            • Relevant agreements between NetEase and its direct and indirect
14               subsidiaries.
15         In addition to discovery of the parties, NetEase expects that this case may
16   involve extensive discovery of non-parties located outside of the United States.
17   Plaintiffs in the related Ledergerber, Walmsley, and Kühmstedt cases reside outside
18   of the U.S. Discovery of foreign non-parties may be required to determine issues of
19   ownership, licensing arrangements, and license fees earned in connection with all
20   Plaintiffs’ asserted photographs. Moreover, Plaintiff may attempt to seek discovery
21   of non-party GNCS, which is based in China. Such foreign non-party discovery may
22   require requests for the taking of evidence under the Hague Convention. This,
23   combined with expected disruptions caused by the COVID-19 pandemic, may cause
24   significant delays in the taking and completion of discovery.
25

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                                    JOINT RULE 26(f) REPORT
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 1   E.     DAMAGES
 2          1.     Plaintiff’s Statement
 3          Plaintiff anticipates seeking statutory damages in this case for the unauthorized
 4   use of the 16 photographs at issue, including the reproduction of those images on a
 5   network of US-based servers for distribution and display to the millions of monthly
 6   US-based viewers of the 163.com website.
 7          2.     Defendant’s Statement
 8          NetEase denies that Plaintiff is entitled to any damages, injunctive relief, or
 9   other relief. There is no evidence that any infringing acts occurred in the United
10   States. There is no evidence that Plaintiff suffered actual damages, or that NetEase
11   earned any profits attributable to the alleged infringement. Moreover, if Plaintiff
12   seeks statutory damages, it would be limited to two awards for the two allegedly
13   copyrighted works asserted, Copyright Reg. Nos. VAu 989-644 and VAu 1-089-810.1
14   There is no willful infringement, and as statutory damages awards for non-willful
15   infringement typically range from $750 to $30,000 per work infringed, NetEase
16   anticipates that any award of statutory damages would result in total damages ranging
17   between $1,500 to $60,000.
18   F.     INSURANCE
19          1.     Plaintiff’s Statement
20          Plaintiff does not have insurance coverage for the claims at issue.
21          2.     Defendant’s Statement
22          NetEase does not have insurance coverage relevant to the issues or potential
23   liability related to this litigation.
24

25

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27   1
      Plaintiff contends that sixteen photographs were infringed, but these sixteen
28   photographs are only covered by two copyright
                                               -8-  registrations.
                                        JOINT RULE 26(f) REPORT
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 1   G.    MOTIONS
 2         1.     Plaintiff’s Statement
 3         Plaintiff may wish to move to add additional defendants should discovery
 4   reveal the involvement of currently unknown parties in the chain of infringement of
 5   Plaintiff’s proprietary designs. It is likely an initial round of discovery will need to be
 6   obtained in order to discern the identities of these defendants (other than Guangzhou
 7   NetEase Computer System Co., Ltd.).
 8         2.     Defendant’s Statement
 9         Defendant does not currently anticipate filing motions seeking to add other
10   parties or claims, file amended pleadings, or transfer venue. Defendant may file such
11   motions upon learning relevant facts in discovery warranting motion practice.
12         In light of ¶ 1 of the Court’s Standing Order requiring dismissal of any
13   defendants not served within 90 days after the case is filed, NetEase does not believe
14   that a motion to add additional defendants is permitted.
15   H.    DISPOSITIVE MOTIONS
16         1.     Plaintiff’s Statement
17         Plaintiff anticipates filing a Motion for Partial Summary Judgment for liability
18   as to Defendants for copyright infringement by the deadline for dispositive motions.
19   Plaintiff anticipates filing this motion after sufficient discovery has been completed.
20   Plaintiff also will not seek bifurcation.
21         See Exhibit A – Schedule of Pretrial and Trial Dates Worksheet for applicable
22   motion deadlines.
23         2.     Defendant’s Statement
24         NetEase currently anticipates filing a motion for summary judgment on the
25   following grounds:
26         • NetEase is not directly liable for the alleged infringement of Plaintiff’s
27              works on 163.com.
28                                               -9-


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 1            • NetEase is not secondarily liable – including under theories of contributory
 2                 infringement and vicarious liability – for the alleged infringement of
 3                 Plaintiff’s works on 163.com.
 4            • NetEase is not liable under the U.S. Copyright Act for alleged
 5                 infringements occurring outside of the United States.
 6            • Subject to discovery and an opinion of the U.S. Copyright Office, the
 7                 copyright registrations for the asserted copyrights are invalid under 17
 8                 U.S.C. § 411(b).
 9            • The Court lacks personal jurisdiction over NetEase, as the factual record
 10                further developed in discovery confirms the lack of, inter alia, purposeful
 11                direction and claim-related contacts to the U.S.
 12   I.      MANUAL FOR COMPLEX LITIGATION
 13           This case should not utilize the procedures of the Manual for Complex
 14   Litigation.
 15   J.      STATUS OF DISCOVERY
 16           To date, no discovery requests have been served, and no discovery has been
 17   produced, by either party.
 18   K.      DISCOVERY PLAN
 19           1.      Rule 26(a) Disclosures
 20           The parties will serve their respective Rule 26 disclosures by September 18,
 21   2020.
 22           2.      Subjects on Which Discovery May Be Needed
 23                   a.    Plaintiff’s Statement
 24           Plaintiff anticipates using all discovery procedures allowed under the Federal
 25   Rules, including depositions, requests for documents, interrogatories and requests for
 26   admissions, to be completed in accordance with the scheduling order. Plaintiff
 27   further anticipates an initial round of written discovery to be propounded by the end
 28                                                 - 10 -


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 1    of September 2020. Follow-up written discovery and conferring over and otherwise
 2    resolving any discovery disputes should be completed by the end of April 2021.
 3    Plaintiff anticipates that each party, as well as third parties, will need to be deposed,
 4    and that said depositions shall take place after an initial round of written discovery.
 5    Plaintiff anticipates these depositions being taken during the discovery period.
 6          See Exhibit A - Schedule of Pretrial and Trial Dates Worksheet for applicable
 7    discovery deadlines.
 8                 b.     Defendant’s Statement
 9          NetEase anticipates taking discovery of Plaintiff and third parties, both inside
 10   and outside the United States on subjects that include the following:
 11         • The origins, creation, authorship, and ownership of the asserted
 12             photographs.
 13         • Any agreements Plaintiff has entered into with third parties with respect to
 14             the asserted photographs, including any agreements involving the license,
 15             transfer, distribution, publication, and display of the photographs.
 16         • Any revenue, costs, and profits associated with the asserted photographs.
 17         • Any settlement negotiations and agreements entered into by Plaintiff and
 18             other accused infringers.
 19         • Plaintiff’s applications to register the copyrights in the asserted
 20             photographs, including the information known and provided by Plaintiff in
 21             relation to his applications for copyright registration.
 22         • Plaintiff’s connection to the United States and California.
 23         • Plaintiff’s claims for damages for the alleged infringement.
 24         • The corporate structure of NetEase, Inc. related to this case.
 25         • NetEase’s lack of involvement with 163.com and the alleged infringement
 26             of the asserted photographs.
 27

 28                                              - 11 -


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 1          • NetEase’s lack of claim-related contacts with California and the United
 2               States.
 3          3.      Discovery Limits and Phasing
 4          The parties anticipate entering into an appropriate stipulated protective order
 5    governing the disclosure and use of confidential or sensitive information or
 6    documents exchanged during discovery.
 7                  a.     Plaintiff’s Additional Statement
 8          Plaintiff additionally anticipates significant delays in conducting discovery
 9    because NetEase and other parties are located in China. China has indicated that
 10   taking depositions, whether voluntary or compelled, and obtaining other evidence in
 11   China for use in foreign courts may, as a general matter, only be accomplished
 12   through requests to its Central Authority under the Hague Evidence Convention.
 13   Under the Hague Convention, to which China is a party, the Chinese Ministry of
 14   Justice is the Chinese Central Authority for the Hague Evidence Convention that is
 15   designated to receive letters of request for the taking of evidence. China’s restrictions
 16   to obtaining meaningful discovery for matters pending abroad present exceptional
 17   circumstances that are certain to delay Plaintiff’s ability to obtain necessary
 18   information and evidence in this matter. Therefore, Plaintiff anticipates that the
 19   proposed dates be moved out six (6) months, outside of the 18 month window of
 20   filing the complaint, to account for the current status of the case and likely future
 21   discovery issues.
 22         Plaintiff objects to Defendant’s efforts to cabin Plaintiff’s discovery and/or
 23   lump it in with other aggrieved copyright holders pursuing claims against NetEase.
 24                 b.     Defendant’s Additional Statement
 25         NetEase proposes that, to reduce costs and avoid unnecessary and duplicative
 26   discovery, Plaintiffs in the related Stross, Ledergerber, Walmsley, and Kühmstedt
 27

 28                                              - 12 -


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 1    cases serve consolidated discovery requests (requests for production, interrogatories,
 2    and requests for admission) on NetEase, rather than individual or piecemeal requests.
 3           NetEase proposes that Plaintiffs in the related Stross, Ledergerber, Walmsley,
 4    and Kühmstedt cases be limited, collectively, to no more than 25 interrogatories of
 5    NetEase.
 6           NetEase has no relevant information or documents concerning the alleged
 7    infringement of 163.com. NetEase proposes limiting discovery to written and
 8    documentary evidence showing the corporate structure of NetEase, Inc. related to the
 9    case, the lack of involvement with 163.com (including lack of involvement with the
 10   alleged infringement), and the lack of claim-related contacts with the United States
 11   and California. As NetEase has no involvement with the website at issue, it proposes
 12   limiting discovery to these matters to reduce unnecessary costs and burdens on both
 13   parties.
 14          NetEase notes that discovery of NetEase would be limited to documents and
 15   information within NetEase’s possession, custody, or control. Discovery of NetEase
 16   would not include discovery of GNCS, a non-party to this case that is based in China.
 17          The People’s Republic of China has extremely restrictive laws that limit
 18   discovery in China for use in foreign proceedings. For example, witnesses and
 19   attorneys involved in depositions for use in foreign proceedings, including a remote
 20   deposition, risk arrest and imprisonment. No depositions should proceed, either
 21   remotely or by video, on Chinese soil. If NetEase is served with a notice for a
 22   deposition seeking discovery that, if provided, would violate Chinese law, NetEase
 23   anticipates it will move for a protective order to limit or prevent such discovery.
 24          In addition, health concerns and the recent quarantine restrictions and travel
 25   bans instituted in connection with the ongoing COVID-19 global pandemic will make
 26   travel and any permitted cross-border discovery difficult, if not impossible. NetEase
 27   anticipates it will move for appropriate protective orders to address such concerns.
 28                                              - 13 -


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 1          4.     Disclosure, Discovery or Preservation of ESI
 2          The parties anticipate negotiating and entering into a stipulated agreement on
 3    the production of electronically stored information (“ESI”). The parties agree to
 4    meet and confer over electronic discovery issues at the time any such disputes arise,
 5    including the form or production of electronic information and scope of any such
 6    electronic discovery.
 7          5.     Claims of Privilege, Work Product Protection, or Other Orders
 8          To date, there have been no disputes related to claims of privilege or work
 9    product protection in this litigation. The parties anticipate filing a stipulated
 10   protective order with an appropriate clawback provision that comports with Rule 502
 11   of the Federal Rules of Evidence for the Court’s consideration in the near future.
 12   L.    DISCOVERY CUT-OFF
 13         1.     Plaintiff’s Statement
 14         Because the Court has required that the Parties propose a trial date within 18
 15   months of the Complaint’s filing, Plaintiff proposes a non-expert discovery cut-off of
 16   March 26, 2021. However, he does not believe that will afford the parties sufficient
 17   time in discovery given the delays caused by the recently decided motions to dismiss
 18   and the likelihood that foreign discovery will be required. So owing, Plaintiff
 19   requests that the Court extend the discovery cut-off date by six (6) months to
 20   September 26, 2021.
 21         2.     Defendant’s Statement
 22         NetEase proposes a non-expert discovery cut-off of December 11, 2020.
 23   NetEase anticipates that the parties may seek an extension of the discovery cut-off
 24   date to reflect possible delays arising from third-party discovery outside of the U.S.
 25   and from disruptions associated with the COVID-19 pandemic.
 26

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 1    M.    EXPERT DISCOVERY
 2          1.      Plaintiff’s Statement
 3          Plaintiff proposes the following schedule for expert discovery:
 4               • Initial expert witness disclosures: April 2, 2021
 5               • Rebuttal expert witness disclosures: April 13, 2021
 6               • Expert discovery cut-off: April 23, 2021
 7          As already mentioned in this report, dates are the latest proposed dates in
 8    compliance with this Court’s order requiring that a trial date be scheduled within 18
 9    months of the filing of the complaint. However, based on the delays anticipated due
 10   to the challenges of obtaining discovery from defendants in China, and on the basis
 11   outlined in Section 3 a. above, Plaintiff proposes extending the expert discovery
 12   deadlines by six (6) months to October 2, 2021, October13, 2021 and October 23,
 13   2021 respectively.
 14         2.      Defendant’s Statement
 15         NetEase proposes the following schedule for expert discovery:
 16              • Initial expert witness disclosures: January 8, 2021.
 17              • Rebuttal expert witness disclosures: February 5, 2021.
 18              • Expert discovery cut-off: February 19, 2021.
 19         NetEase anticipates that the parties may seek an extension of the expert
 20   discovery schedule to reflect possible delays arising from third-party discovery
 21   outside of the U.S. and from disruptions associated with the COVID-19 pandemic.
 22   N.    SETTLEMENT
 23         1.      Plaintiff’s Statement
 24         Plaintiff extended a modest early demand (before Defendant filed its motion to
 25   dismiss). Defendant has made no offers. Plaintiff is amenable to using Central
 26   District Settlement Procedure No. 2 under Local Rule 16-15.4.
 27

 28                                              - 15 -


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 1          2.     Defendant’s Statement
 2          Plaintiff has proposed discussing settlement in this matter. NetEase is
 3    amenable to using Central District Settlement Procedure Nos. 2 (appearing before a
 4    neutral selected from the Court’s Mediation Panel) and 3 (participating in a private
 5    dispute resolution proceeding).
 6    O.    TRIAL ESTIMATE
 7          1.     Plaintiff’s Statement
 8          Plaintiff has requested a jury trial. The parties estimate the trial in this matter to
 9    last between 2-3 court days.
 10         2.     Defendant’s Statement
 11         In light of disruptions caused by the COVID-19 pandemic, NetEase proposes
 12   holding a bench trial. NetEase estimates three to four days for trial of the Stross
 13   matter. NetEase currently anticipates calling two fact witnesses and three expert
 14   witnesses.
 15   P.    TRIAL COUNSEL
 16         For Plaintiff: Stephen M. Doniger, Scott Alan Burroughs, Elina E Kharit.
 17         For Defendant: Stefan Mentzer, Matthew Lewis, Daniel Ledesma, and
 18   Timothy Keegan.
 19   Q.    INDEPENDENT EXPERT OR MASTER
 20         The parties presently do not believe this case requires the Court to appoint a
 21   master pursuant to Rule 53 or an independent scientific expert.
 22   R.    SCHEDULE WORKSHEET
 23         See Exhibit A – Schedule of Pretrial and Trial Dates Worksheet.
 24         The Court has directed the Parties to propose a trial date that is within 18
 25   months after the complaint was filed, and the attached worksheet reflects the Court’s
 26   directive. To the extent the Court is willing to hold a trial that begins later than 18
 27   months after the filing of the complaint to reflect, inter alia, the disruptions caused by
 28                                               - 16 -


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 1    the ongoing COVID-19 pandemic, both parties are open to discussing and proposing
 2    an alternative case schedule.
 3          1.      Plaintiff’s Additional Statement
 4          Plaintiff objects to coordinating fact and expert discovery and dispositive
 5    briefing in the Stross, Ledergerber, Walmsley, and Kühmstedt cases. All four cases
 6    concern different plaintiffs (three of whom reside outside of the U.S.), different types
 7    of issues (some cases include DMCA arguments, while others do not), and different
 8    types of uses and ownership, and coordination of these dates as proposed by NetEase
 9    would frustrate the objectives of each unique Plaintiff.
 10         Plaintiff further objects to have the expert discovery cut-off date occur before
 11   the deadline to file motions for summary judgment. The discovery period is already
 12   tight, and Plaintiff anticipates significant delays in obtaining discovery from
 13   Defendant in China and third-party discovery outside of the U.S. Moreover, the
 14   nature of this case is not such where expert discovery will be critical to summary
 15   judgement.
 16         2.      Defendant’s Additional Statement
 17         NetEase proposes to coordinate fact and expert discovery and dispositive
 18   briefing in the Stross, Ledergerber, Walmsley, and Kühmstedt cases, to reduce the
 19   burden on the parties and the Court. Attached as Exhibit B is a chart that summarizes
 20   NetEase’s proposed dates across the Stross, Ledergerber, Walmsley, and Kühmstedt
 21   cases. As part of its proposal:
 22              • NetEase proposes, across the four cases, the same deadlines for hearing
 23                 motions to amend the pleadings or add parties, non-expert discovery cut-
 24                 off, initial expert disclosures, rebuttal expert disclosures, expert
 25                 discovery cut-off, hearing summary judgment motions, and completing
 26                 the settlement conference. These dates are shaded in gray in Exhibit B.
 27

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 1             • NetEase proposes that the expert discovery cut-off date occur before the
 2                deadline to file motions for summary judgment, as expert opinions in the
 3                case may be relevant to the determination of such motions.
 4             • NetEase proposes four weeks between initial expert disclosures and
 5                rebuttal expert disclosures. NetEase expects Plaintiff will serve an
 6                initial expert report setting forth Plaintiff’s calculation of damages.
 7                NetEase believes that one month is a reasonable time to allow any
 8                rebuttal expert it may retain to prepare his or her opinions.
 9    S.    OTHER ISSUES
 10         As noted above, the parties anticipate several issues that will affect the status
 11   and management of this case, including:
 12            • The need for extensive foreign third-party discovery in the Stross,
 13               Ledergerber, Walmsley, and Kühmstedt cases, including of foreign-
 14               language speaking parties.
 15            • Legal restrictions in the People’s Republic of China that may prohibit
 16               the taking of evidence, including depositions, for use in U.S.
 17               proceedings.
 18            • Continuing disruptions arising from the COVID-19 pandemic that may
 19               impede the parties’ ability to take and complete discovery.
 20   //
 21   //
 22   //
 23   //
 24   //
 25   //
 26   //
 27

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 1          WHEREUPON, the parties, by and through their respective attorneys of
 2    record, hereby jointly submit this Joint Report.
 3

 4
                                                           Respectfully submitted,

 5

 6
            Dated: September 11, 2020         By:          /s/ Stephen M Doniger
                                                           Stephen M. Doniger, Esq.
 7                                                         Elina E. Kharit, Esq.
 8
                                                           DONIGER / BURROUGHS
                                                           Attorneys for Plaintiff
 9

 10
            Dated: September 11, 2020         By:          /s/ Stefan Mentzer
 11                                                        Stefan Mentzer, Esq.
 12
                                                           WHITE & CASE LLP
                                                           Attorney for Defendant
 13

 14         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories
 15   listed, and on whose behalf this filing is submitted, concur in the filing’s content and
 16   have authorized the filing.
 17

 18         Dated: September 11, 2020         By:          /s/ Stephen M Doniger
                                                           Stephen M. Doniger, Esq.
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 1                                              EXHIBIT B
 2

 3
                                        NetEase’s Proposed Schedule
            Event          Weeks       Stross        Ledergerber       Walmsley        Kühmstedt
 4                         Before
                           FPTC
 5
      Trial                         June 29, 2021    July 13, 2021    July 27, 2021   Aug. 31, 2021
 6    (Tuesday, 8:30 am)
 7    Final Pretrial                June 11, 2021   June 25, 2021     July 9, 2021    Aug. 13, 2021
      Conference
 8    (“FPTC”)
      (at least 17 days
 9    before Trial)
 10   Last Date to Hear             Nov. 6, 2020     Nov. 6, 2020     Nov. 6, 2020    Nov. 6, 2020
      Motion to Amend
 11   Pleadings/Add
      Parties
 12
      Non-Expert            17      Dec. 4, 2020     Dec. 4, 2020     Dec. 4, 2020    Dec. 4, 2020
 13   Discovery Cut-Off
      Expert Disclosure             Dec. 18, 2020   Dec. 18, 2020     Dec. 18, 2020   Dec. 18, 2020
 14   (Initial)
 15   Expert Disclosure             Jan. 22, 2021    Jan. 22, 2021    Jan. 22, 2021   Jan. 22, 2021
      (Rebuttal)
 16
      Expert Discovery      12      Feb. 5, 2021      Feb. 5, 2021    Feb. 5, 2021    Feb. 5, 2021
 17   Cut-Off
      Last Day to Hear      12      Mar. 19, 2021   Mar. 19, 2021     Mar. 19, 2021   Mar. 19, 2021
 18   Motions (must be a
      Friday)
 19
      Rule 56 Motion
 20   must be filed 5
      weeks before this
 21   Deadline to           10      Apr. 2, 2021     Apr. 2, 2021     Apr. 2, 2021    Apr. 2, 2021
      Complete
 22   Settlement
      Conference
 23
      Trial Filings          3      May 21, 2021     June 4, 2021     June 18, 2021   July 23, 2021
 24   (First Round)

 25   Trial Filings          2      May 28, 2021    June 11, 2021     June 25, 2021   July 30, 2021
      (Second Round)
 26

 27

 28                                                 - 20 -


                                         JOINT RULE 26(f) REPORT
